                      CASE 0:21-cr-00108-PAM-TNL Doc. 175 Filed 01/06/22 Page 1 of 2
AO 187 (Rev. Locally 03/18) Exhibit List



                                       UNITED STATES DISTRICT COURT
                                                 State and    DISTRICT OF             MINNESOTA



         UNITED STATES OF AMERICA                                                     EXHIBIT LIST - Kueng
                    V.
       DEREK MICHAEL CHAUVIN, ET AL.                                                     Case Number: 21-108 (PAM/TNL)

PRESIDING JUDGE                                       PLAINTIFF’S ATTORNEY                      DEFENDANT’S ATTORNEY
                                                                                                              Robert Paule
                                                               Samantha Trepel
                                                                                                            Natalie R. Paule
                                                               LeeAnn K. Bell
    The Honorable Paul A. Magnuson                                                                         Thomas C. Plunkett
                                                                Manda Sertich
                                                                                                               Earl Gray
                                                               Allen Slaughter
                                                                                                          Amanda Montgomery
TRIAL DATE (S)                                        COURT REPORTER                            COURTROOM DEPUTY
               January 20, 2022                                   Renee Rogge                                  Lynn Magee
PLF.    DEF.      DATE
                               MARKED      ADMITTED                           DESCRIPTION OF EXHIBITS* AND WITNESSES
NO.     NO.      OFFERED

          1                                           1.     MPD 2019 Recruit Manual - Complete

          2                                           2.     May 1, 2019 FTO Handbook

          3                                           3.     FTO Task Check List – Kueng

          4                                           4.     Ropes – Kueng

          5                                           5.     Eck Letter - Extension

          6                                           6.     FTO – Survey Monkey

          7                                           7.     FTO – Standardization Manual

          8                                           8.     Excited Delirium Power Point

          9                                           9.     BWC 19-127538-Tle-2

         10                                           10.    BWC 19-223415.AXON_Body_2_Video_2019-08-06_1547

         11                                           11.    BWC 19-233415.suspv

         12                                           12.    MPD Policy – Use of Force 5-300 6-5-2020

         13                                           13.    FTO Handbook – February 1, 2020

         14                                           14.    MPD FTO Leadership Course

         15                                           15.    Photo - Matt and Alex

         16                                           16.    Photo - Kueng Family 1

         17                                           17.    Photo - Alex and Rin

         18                                           18.    Photo - Alex in the field

         19                                           19.    Photo - Kueng Family 2

         20                                           20.    Example Use of Force Report – Redacted.
                            CASE 0:21-cr-00108-PAM-TNL Doc. 175 Filed 01/06/22 Page 2 of 2

            21                                                           21.        Mission 1

            22                                                           22.        Mission 2

            23                                                           23.        Mission 3
* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                       Page 2 of   2   Pages
